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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America No. 2:25-cr-00541-DJH-1
Plaintiff,

v. WAILVER AND ORDER

oo Amendment of Release Conditions

Adam Weinstein

Defendant.

I recognize I have a statutory right under 18:3145, 3148(b), and Federal Rules of
Criminal Procedure, Rule 44, to assistance of counsel and a hearing before my Pretrial

Release conditions are amended.
1 hereby voluntarily waive my statutory right to a hearing and agree to the

following addition to my release conditions:

The defendant shall not obtain any new financial accounts without prior
notification and approval of Pretrial Services.

Digitally signed

KEVI N by KEVIN RAPP eee
Date: 2025.05.20 woe

RAPP 16:41:19 -07'00' (LL

Kevin M. Rapp forDennis I.

Assistant U.S. Attorney / Date Defense Counsel / Date

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Bo HM HN NH HB NR NN NR ee

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Adank Weinstein ue Siétra4 _ Criice fo]
Defendant / Date U.S. Probation Officer / Date
ORDER OF THE COURT
Considered and ordered this
QS ~~ day of (Vv \

and ordered filed and mad: art
of the records in the above case.

G-Ca—

John Z. Boyle
U.S. Magistrate Judge

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